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                               UNITED STATES DISTMCT COURT
                               WESTERN DISTRICT OF LOUISIANA
                                   SHREVEPORT DIVISION

   CAMERON KEMP #72818/1 85628 CIVIL ACTION NO. 1 9-799 SEC P

   VERSUS JUDGE ELIZABETH E. FOOTE

   DONALD BELANGER, JR., ET AL. MAGISTRATE JUDGE PEREZ-MONTES



                                              JUDGMENT

            For the reasons stated in the Report and Recommendation of the Magistrate Judge

   previously filed herein, and after an independent review of the record, including written objections

   filed by Plaintiff, and determining that the findings are correct under the applicable law;

            IT IS ORDERED that Plaintiffs motion for summary judgment [Record Document 109]

   regarding the previously dismissed claims and Defendants is DENIED AS MOOT.

            IT IS FURTHER ORDERED that Plaintiffs motion for summary judgment [Record

   Document 109] against Sergeant Scebem Willis is DENIED for lack of personal jurisdiction.

            IT IS FURTHER ORDERED that Defendants' motion for summary judgment [Record

   Document 114] is GRANTED on the issue of whether Defendants had probable cause to arrest

   Plaintiff. Plaintiffs motion for summary judgment [Record Document 109] is DENIED as to this

   claim.


            IT IS FURTHER ORDERED that Defendants' motion for summary judgment [Record

   Document 114] is GRANTED on the issue of whether Defendants had probable cause to seize the

   marijuana and paraphernalia found in plain view when Plaintiff was arrested. Plaintiffs motion for

   summary judgment [Record Document 109] is DENIED as to this claim.

            IT IS FURTHER ORDERED that Defendants' motion for summary judgment [Record

   Document 114] is GRANTED on the issue of whether Defendants had probable cause to seize the

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   bag of marijuana from Plaintiffs neighbor's backyard. Plaintiffs motion for summary judgment

   [Record Document 109] is DENIED as to this claim.

          IT IS FURTHER ORDERED that Defendants' motion for summary judgment [Record

   Document 114] is GRANTED on the issue of retaliation. Plaintiffs motion for summary judgment

   [Record Document 109] is DENIED as to this claim.

          IT IS FURTHER ORDERED that Plaintiffs claims are hereby DISMISSED WITH

   PREJUDICE.

          IT IS FURTHER ORDERED that all remaining motions are DENIED AS MOOT.

          The Clerk of Court is requested to close this case.

           THUS DONE AND SIGNED this 19th day of November, 2021.




                                               ELIZABETH ERNVFDOTE
                                               UNITED STATES ^ISTRICNQJDGE




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